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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 17-22153-CIV-GAYLES


    FRANCOIS SEVERE, as Personal
    Representative of the Estate of FRITZ
    SEVERE,

                          Plaintiff,

                   v.

    CITY OF MIAMI and ANTONIO
    VICENTE TORRES, IV, individually and in
    his capacity as a City of Miami Police
    Officer,

                          Defendants.
                                                      /

                                              ORDER

          THIS CAUSE arises from Defendants’, Officer Antonio Vicente Torres, IV, and the City

   of Miami (collectively, the “Defendants”), Motion for Summary Judgment (the “Motion for

   Summary Judgment”) [ECF No. 56] and Defendants’ Motion in Limine to Exclude Testimony of

   Mr. Charles Drago (the “Motion in Limine”) [ECF No. 58]. The Court has reviewed the motions,

   the record, and the applicable law. For the following reasons, Defendants’ Motion for Summary

   Judgment is granted in part and denied in part. Defendants’ Motion is granted as to Count I –

   Plaintiff’s Section 1983 excessive force claim against the City of Miami (the “City”) and denied

   with respect to Count II – Plaintiff’s Section 1983 excessive force claim against Officer Antonio

   Vicente Torres, IV (“Officer Torres”). Plaintiff’s Florida Wrongful Death Act, Fla. Stat.

   §§ 768.16–768.28, claims against both Defendants, Counts III and IV, are dismissed with




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   prejudice for failure to state a claim on which relief can be granted. Defendants’ Motion in Limine

   is granted as to Mr. Drago’s second and third opinions but denied as to all others.

                                           BACKGROUND

          This action challenges Officer Torres’s use of deadly force that resulted in Fritz Severe’s

   (“Severe”) death during an investigatory stop. At the heart of the case is whether Officer Torres

   violated Severe’s Fourth Amendment right to be stopped and/or seized without excessive force

   when he shot him ten times after Severe was incapacitated.

   I.     The June 2015 Shooting

          Gibson Park is a community park in Miami that contains a football field, bleachers, and a

   grassy area. Across the street is a public library, Culmer Overtown Branch Library. There are two

   grass lawns in front of the library, separated by a walkway leading to the front door. The distance

   across the walkway is about nine feet; the distance from the edge of the walkway to the front door

   is about thirty-two feet. 1 See Appendix A.

          Antonio Sanders, a City employee, led one of many summer camps at Gibson Park football

   field during the summer of 2015. On the morning of June 11, he noticed a Black man wandering

   near the field and carrying a long metal object and a big black bag. Sanders became concerned for

   the campers’ safety and called 911 to report that a Black homeless man had threatened him with a

   metal rod. 2 The dispatch agent assured Sanders that officers were on the way. The agent radioed

   in a “32,” the police code for an assault or battery, and informed the responding officers that the




   1
     The Florida Department of Law Enforcement (“FDLE”) crime scene analyst prepared a sketch
   of the area. [ECF No. 57-19]. Although the sketch is not to scale, it provides context for the scene
   and details measurements of the walkways. [Id.].
   2
     All of the deposition testimony refers to the metal stick Severe carried as a rod, stick, cane, or
   object. For ease of reference and with the benefit of observing the instrument at oral argument, the
   Court shall refer to it as a rod.
                                                    2
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   suspect “was armed with a metal object [and] threatened to hit the complainant.” [ECF No. 57-4,

   2:8–9].

             Officers Ervens Ford and Antonio Torres responded. Because the officers were conducting

   a training exercise that day, Officer Torres, the senior officer, was dressed in street clothes to allow

   Officer Ford to take the lead in any situation they encountered. Upon arrival, they spoke briefly to

   Sanders, who informed them that the man had moved away from the field and towards the library.

   Sanders also told the officers that the man had not attacked him and no one was ever in any real

   danger—he just wanted the man to move away from the field where the campers were. Kwameshia

   Rich, another City employee, approached Sanders and the officers to inform them that there was

   no longer a reason to complain because the man was moving away from the field. She also told

   them that the man was a regular in the area and had never caused a problem. Both Sanders and

   Rich accompanied the officers towards the library.

             As they approached the library, the group observed a Black man, now identified as Severe,

   carrying a metal rod and black bag near the library entrance. Sanders identified him for the officers.

   Video surveillance captured Severe approaching the library, turning towards Officer Ford, then

   turning back around as if to enter the library, then turning again and moving toward Officer Ford,

   lifting the rod as he moved out of the frame. Officer Ford testified that Severe turned in response

   to his call and instruction to approach the officers and not enter the library. At that time, although

   the testimony varies, Severe was anywhere from 10 to 32 feet away from the officers.

             As with many police shooting cases, the next few seconds were quick and decisive. Indeed,

   the entire event lasted less than three minutes from the time Officers Ford and Torres arrived at

   the park to the time Severe was shot. In addition to the officers, several independent witnesses

   gave varying accounts of what occurred.



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          Severe began to raise the rod as he approached the officers. Walter Dennis, a witness who

   stood near the perimeter of the scene, testified that Severe had raised the stick above his head and

   was “flaring” his arms. [ECF No. 57-9, 9:12]. Aja Kareem Hayward, another witness who stood

   at the library entrance, described Severe as “swinging” the metal rod “like he [was] getting ready

   to swing and hit the police.” [ECF No. 49-7, 28:16–18]. He compared Severe’s movements to that

   of a baseball player, holding the rod like a bat as he stood a relatively short distance away from

   the officers. [ECF No. 49-7, 29:1–8]. However, Rich testified that she never saw Severe “wave the

   stick at [Officer Torres] at all.” [ECF No. 49-3, 14:5].

           The officers instructed Severe to put the rod down at least once. Sanders, who was

   “shoulder to shoulder” with the officers, testified that he heard commands to “drop the rod.” [ECF

   No. 57-3; 26:24, 32:8–10]. Hayward agreed that the officers told Severe to “put it down.” [ECF

   No. 49-7, 27:25]. Pamela Jefferson, a library employee, testified that Severe was told to put down

   the “object in his hand . . . and he just was waving it.” [ECF No. 57-8, 20:12–16].

          Despite the commands, Severe continued to approach the officers with the rod raised. [ECF

   No. 57-3, 28:22–25, 30:11–12]. Hayward testified that Severe got “aggressive” as the officers

   continued to command him to lower it. [ECF No. 49-7, 28:15]. Officer Ford testified that Severe

   got “into a fighting stan[ce] and said something in the aspect of you’re going to have to make me

   leave.” [ECF No. 57-5, 17:12–15].

          Officer Torres testified that he pulled out his firearm while Severe was still at least ten feet

   away from him. [ECF No. 57-1, 117–118]. He testified that Severe then ran towards him and

   “lunged” at him from about four or five feet while holding the rod raised like a baseball bat. [ECF

   No. 57-1, 118:14–20]. Officer Ford described Severe as “charging” towards Officer Torres. [ECF




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   No. 57-5, 49:7]. However, Dennis testified that he never saw Severe run at or lunge towards the

   officers. [ECF No. 57-9, 15:7–8].

          Officer Ford holstered his firearm and instead went to draw his taser. In that same moment,

   Officer Torres began shooting Severe. Officer Torres shot Severe ten times. Although paramedics

   tried to revive him on the scene, Severe died from his gunshot wounds.

          Dennis testified that Officer Torres shot Severe from about four or five feet away. [ECF

   No. 57-9, 15:3–4]. Rich testified that they were about two feet apart. [ECF No. 49-3, 63:14–24].

   Eddie Palsey, another City employee who witnessed the shooting, estimated a distance of “ten,

   twelve” feet. [ECF No. 57-11, 44:20]. Others described the distance between Officer Torres and

   Severe as relative to the sidewalk, the grassy area, and the bleachers—an area that the crime scene

   sketch catalogues as up to 32 feet long and 9 feet wide. [ECF No. 69-1]. Officer Ford could not

   clearly determine the distance between the two. [ECF No. 57-5, 43:10–22]. Sanders testified that,

   by the time of the shooting, Officer Torres and Severe were “maybe about four to five feet” apart.

   [ECF No. 57-3, 30:11–12]. Importantly, Sanders also testified that Severe was “too far away” at

   the time of the shooting to hurt the officers with the rod. [ECF No. 57-3, 33:2].

          Severe may have tried to run away as Officer Torres started shooting. Jefferson testified

   that after Severe was shot, “he was trying to get away, right, and he was going to the right hand

   direction.” [ECF No. 57-8, 23:22–25]. Hayward testified that Severe “was in a different spot from

   when he was attacking to when he fell on the ground. He didn’t fall on the ground where he got

   shot at.” [ECF No. 49-7, 47:14–16]. Rich testified that Severe ultimately fell across the walkway

   from the officers. [ECF No. 49-3, 28:1–4].

          Rich also testified that Officer Torres continued shooting after Severe fell to the ground:

   “He had to shoot him at least five times before he went down, but when he was on the ground he



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   still shot.” [ECF No. 49-3, 29:16–18]. Dennis described Severe’s body as “jumping” as he was

   shot “several times,” as if he was “being lifted off the ground or something, I don’t know. It was

   just a horrible thing to see.” [ECF No. 57-9, 10:15–23].

           Officer Torres testified that the situation escalated from “nothing to deadly in seconds.”

   [ECF No. 57-1, 113:21–22]. Officer Torres also testified that, “[y]ou don’t have to go two rounds,

   if you see they are still coming at you, you engage until the threat is neutralized . . . I stopped firing

   when he went down.” [ECF No. 57-1, 125:2–12]. Notably, Hayward and Dennis both testified

   that Severe was a “frail,” “old,” “not agile,” and homeless man who would have been unable to

   hurt the two able-bodied younger police officers with the rod. [ECF Nos. 49-7, 35:9–13; 49-4,

   33:3–8]. 3

   II.     FDLE’s Investigation

           The Florida Department of Law Enforcement (“FDLE”) conducted a criminal investigation

   into the shooting and determined that Officer Torres was legally justified in using deadly force.

   The Miami-Dade State Attorney’s Office agreed and declined to file criminal charges against him.

           As part of the investigation, a medical examiner conducted an autopsy of Severe and

   determined that the cause of death was gunshot wounds. Pictures from the autopsy reveal ten bullet

   wounds. [ECF No. 69-5]. Six of the wounds are on the left side of Severe’s body (including three

   through his left arm). 4 Two rounds entered Severe’s left upper back and one entered his right lower

   back. One round entered his right lower buttock at a slightly upward angle towards his pelvic



   3
     According to the autopsy report, Severe was five feet, six inches tall and 165 pounds, and—
   although Severe appears much older in the surveillance video—he was 45 years old at the time of
   his death. [ECF No. 57-16, at 4].
   4
     In her deposition, the medical examiner explained the difference between penetrating and
   perforating gunshot wounds: “A penetrating gunshot wound is when a projectile or bullet goes into
   the body and stays in the body. A perforating gunshot wound is when the bullet goes through the
   body. It goes in and also comes out.” [ECF No. 57-15, 19:13–17].
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   cavity. The medical examiner testified that there was no way for her to determine the order in

   which the bullets struck. But, she agreed that it was likely the shots to his left front and left side

   came first, followed by the penetrating shots to his back. [ECF No. 57-15, 42:7–24]. The medical

   examiner did not find any gunpowder residue or stipling on Severe that would indicate that Officer

   Torres shot him within the boundaries of two to three feet or less. [ECF No. 57-15, 21–22].

          The medical examiner also testified that she could not clearly determine what Severe was

   doing when he was shot. Based on her examination of his body, she opined that the gunshot

   wounds to Severe’s left arm, which held the rod, were inconsistent with Severe approaching the

   officers with that arm raised overhead. [ECF No. 57-15, 24:4]. But she also opined that it was

   possible that Severe approached the officers in a batter’s position with the rod raised to some level.

   [ECF No. 57-15, 54–56]. The medical examiner further testified that, based on the position of the

   gunshots, Severe may have changed positions while being shot. [ECF No. 57-15, 41:23–24]. But

   she could not provide a definitive answer to what happened.

   III.   This Litigation

          Francois Severe, representing the estate of Fritz Severe, 5 brought four claims against

   Defendants: Count I – Section 1983 excessive force against the City, Count II – Section 1983

   excessive force against Officer Torres, Count III – Florida Wrongful Death Action against the

   City, and Count IV – Florida Wrongful Death Action against Officer Torres. [ECF No. 103].

   Defendants filed their Motion for Summary Judgment and concurrently filed their Motion in

   Limine. The Court held a hearing on the Motions, both of which are now ripe for review.




   5
    For ease of reference, the Court shall refer to the decedent as “Severe” and to his estate, which
   acts as Plaintiff in this action, as “Severe’s estate.”
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           The Court first evaluates the claims brought under 42 U.S.C. § 1983. For the reasons set

   forth below, the Court finds that Severe’s estate has not presented legally sufficient evidence to

   meet his burden under Monell v. Department of Social Services, 436 U.S. 658 (1978) (“Monell”)

   and that Defendants’ Motion in Limine must be granted as to the expert’s opinions on the City’s

   liability.

           The Court next concludes that Officer Torres is not entitled to qualified immunity. Three

   issues of material fact concerning the reasonableness of his decision to use deadly force exist: (1)

   how far apart Severe and Officer Torres were when the shooting began, (2) what Severe was doing

   in the moments before Officer Torres began to shoot, and (3) whether Officer Torres continued to

   employ deadly force after Severe no longer posed a serious threat of physical injury to the officers.

   Moreover, the use of ten shots to subdue Severe was clearly excessive given the circumstances.

   The Court also determines that the law on excessive force was clearly established at the time of

   the shooting. Defendants’ Motion must therefore be denied as to Officer Torres.

           Finally, the Court finds that Severe’s estate has failed to state a claim under Florida’s

   Wrongful Death Act, Fla. Stat. §§ 768.16–768.28, because there is no cause of action for negligent

   use of force in Florida.

                                             DISCUSSION

   I.      Legal Standard

           Summary judgment, pursuant to Federal Rule of Civil Procedure 56(a), “is appropriate only

   if ‘the movant shows that there is no genuine issue as to any material fact and the movant is entitled

   to judgment as a matter of law.’” Tolan v. Cotton, 572 U.S. 650, 656–57 (2014) (per curiam)

   (quoting Fed. R. Civ. P. 56(a)). “By its very terms, this standard provides that the mere existence

   of some alleged factual dispute between the parties will not defeat an otherwise properly supported



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   motion for summary judgment; the requirement is that there be no genuine issue of material fact.”

   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986) (emphasis in original).

          An issue is “genuine” when a reasonable trier of fact, viewing all of the record evidence,

   could rationally find in favor of the nonmoving party. Harrison v. Culliver, 746 F.3d 1288, 1298

   (11th Cir. 2014). And a fact is “material” if, “under the applicable substantive law, it might affect

   the outcome of the case.” Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259–60 (11th Cir.

   2004). “[C]ourts may not resolve genuine disputes of fact” when reviewing on summary judgment;

   rather, summary judgment is appropriate only where all that remains are questions of law. Tolan,

   572 U.S. at 656. The Court must construe the evidence in the light most favorable to the nonmoving

   party and draw all reasonable inferences in that party’s favor. SEC v. Monterosso, 756 F.3d 1326,

   1333 (11th Cir. 2014). However, to prevail on a motion for summary judgment, “the nonmoving

   party must offer more than a mere scintilla of evidence for its position; indeed, the nonmoving party

   must make a showing sufficient to permit the jury to reasonably find on its behalf.” Urquilla-Diaz v.

   Kaplan Univ., 780 F.3d 1039, 1050 (11th Cir. 2015).

   II.    Count I – Section 1983 Claim Against the City

          In Count I, Severe’s estate seeks to hold the City liable for Officer Torres’s excessive

   force. 6 A city’s liability under Section 1983 may not be based on the doctrine of respondeat

   superior. Monell, 436 U.S. at 694. Instead, a city is liable “only for acts for which the [city] is

   actually responsible” and only when the city’s “official policy” causes a constitutional violation.

   Marsh v. Butler Cnty., 268 F.3d 1014, 1027 (11th Cir. 2001) (en banc) See also Monell, 436 U.S.




   6
    As a prerequisite, Severe’s estate must establish that Severe suffered a constitutional violation.
   See City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989). Because the Court finds that a
   Fourth Amendment violation did occur, see infra at pp. 16–25, the Court proceeds with a Monell
   analysis.
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   at 694. To state a Section 1983 claim against a municipal entity, a plaintiff must “identify a

   municipal policy or custom that caused [his] injury.” Gold v. City of Miami, 151 F.3d 1346, 1350

   (11th Cir. 1998) (quoting Bd. of Cnty. Comm’rs of Bryan Cnty., Okl. v. Brown, 520 U.S. 397, 403

   (1997) (citations and internal quotation marks omitted). Severe’s estate therefore must use one of

   two methods to establish that a custom or policy existed: “identify either (1) an officially

   promulgated [City] policy or (2) an unofficial custom or practice of the [City] shown through the

   repeated acts of a final policymaker for the [City].” Grech v. Clayton Cnty., 335 F.3d 1326, 1329

   (11th Cir. 2003). Because a city will rarely have an officially adopted policy of permitting a

   particular constitutional violation, most plaintiffs—Severe’s estate included—must show that the

   City has a custom or practice of permitting the constitutional violation and that the City’s custom

   or practice is “the moving force behind any alleged constitutional violation.” Id. at 1329 n.4

   (citations and internal quotation marks omitted). 7

          “To prove Section 1983 liability . . . based on custom, a plaintiff must establish a

   widespread practice that, although not authorized by written law or express municipal policy, is so

   permanent and well settled as to constitute a custom or usage with the force of law.” Brown v. City

   of Fort Lauderdale, 923 F.2d 1474, 1481 (11th Cir. 1991) (quoting City of St. Louis v. Praprotnik,

   485 U.S. 112, 127 (1988)) (citation and internal quotation marks omitted). “Normally random acts

   or isolated incidents are insufficient to establish a custom or policy.” Whitaker v. Miami-Dade

   Cnty., 126 F. Supp. 3d 1313, 1321 (S.D. Fla. 2015) (quoting Depew v. City of St. Marys, 787 F.2d

   1496, 1499 (11th Cir. 1986)) (finding that four isolated shootings did not “establish a widespread

   practice that, although not authorized by written law or express municipal policy, is so permanent



   7
    Severe’s estate does not purport to establish liability under Monell for an official City policy.
   Thus, the Court’s analysis focuses solely on whether an unofficial custom or practice exists.


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   and well settled as to constitute a custom or usage with the force of law” (quoting Brown, 923 F.2d

   at 1481) (internal quotations omitted)).

          “In limited circumstances, a local government’s decision not to train certain

   employees . . . to avoid violating citizens’ rights may rise to the level of an official government

   policy for purposes of § 1983.” Connick v. Thompson, 563 U.S. 51, 61 (2011) (noting that a failure

   to train can be “properly thought of as a city ‘policy or custom’”) (quoting City of Canton, Ohio v.

   Harris, 489 U.S. 378, 389 (1989)). To use this method, a plaintiff must establish that the

   “municipality inadequately trains or supervises its employees, this failure to train or supervise is a

   city policy, and that city policy causes the employees to violate a citizen’s constitutional rights.”

   Gold, 151 F.3d at 1350. The policy may be proven by showing that the failure to train evinced a

   “deliberate indifference” to the rights of a municipality’s citizens, id., and a “pattern of similar

   constitutional violations by untrained employees is ‘ordinarily necessary’ to demonstrate” such a

   deliberate indifference, Connick, 563 U.S. at 62 (quoting Brown, 520 U.S. at 409). 8

          Severe’s estate claims that the City had a custom, practice, or unofficial policy of using

   excessive force because it failed to train officers in the proper use of force and failed to adequately

   investigate or discipline alleged uses of force. It offers two Department of Justice documents, a

   Report from 2013 (the “Report”) and a subsequent Memorandum of Understanding from 2015 (the




   8
     As an alternative means of demonstrating the City’s liability under Monell, Severe’s estate could
   have identified a final policymaker responsible for implementing the policy. “[A] municipal
   official who has ‘final policymaking authority’ in a certain area of the city’s business may by his
   or her action subject the government to § 1983 liability when the challenged action falls within
   that authority.” Brown, 923 F.2d at 1480. See also Cuesta v. Sch. Bd., 285 F.3d 962, 968 (11th Cir.
   2002) (“Even in the absence of an express policy or custom, a local government body can be held
   liable ‘for a single act or decision of a municipal official with final policymaking authority in the
   area of the act or decision.’” (quoting McMillian v. Johnson, 88 F.3d 1573, 1577 (11th Cir. 1996))).
   But Severe’s estate has not identified a City official who acted as a final policymaker to satisfy
   Monell under this method.
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   “MOU”) (collectively, the “Department of Justice documents”), and the opinion of its expert, Mr.

   Charles Drago, to support the claim. None are sufficient.

          First, the Court finds that the Department of Justice documents are not relevant. Both

   documents suffer a fatal flaw: they detail violations from years prior to Severe’s shooting in 2015.

   The Report, which made no findings past 2011, 9 concluded that the City failed to train on excessive

   force and, as a result, had seen an increase in police shootings during those years. 10 [ECF No. 69-

   4, at 2]. The MOU, which made no findings past 2013, found that problems remained with the

   City’s investigations and trainings at the end of 2013. [ECF Nos. 57-14; 57-24]. Consequently,

   neither of the Department of Justice documents can be used as evidence of violations in 2015

   without some other evidence tying them to that year. Severe’s estate has offered no such evidence.

   The MOU also presents a second problem: It required the City to address its violations by

   transferring responsibility for its investigative procedures into police misconduct to FDLE. [ECF

   Nos. 57-14, 1–2; 57-24, 8–10]. The MOU made no findings that FDLE was somehow incapable

   of handling these investigations or was committing the same violations as the City. And Severe’s




   9
     The Court has not independently identified any cases where the Report was accepted as evidence
   to overcome Monell at summary judgment for shootings occurring after 2011. Cf. Pozdol v. City
   of Miami, 996 F. Supp. 2d 1290, 1298–300 (S.D. Fla. 2014) (allowing the Report to be entered as
   evidence for a case involving a shooting from 2011).
   10
      The Court also notes that a March 10, 2016, agreement between the Department of Justice and
   the City of Miami states that the Department of Justice “affirmatively acknowledges that the
   findings letter dated on or about July 9, 2013, was not meant to satisfy the requirements of Sec
   803(8) of either the Federal Rules of Evidence or the Florida Evidence Code for admission by non-
   parties to this Agreement in a State or Federal Court” and provides that the Agreement “shall not
   be construed as an admission or evidence of liability under any federal, State, or municipal law
   including 42 U.S.C. § 1983. Nor is the City’s entry into this Agreement an admission by the City,
   [the Police Department], or its officers and employees that they have engaged in any un-
   constitutional, illegal, or otherwise improper activities or conduct.” [ECF No. 57-24, at 2]; see
   Picardat v. City of Miami, No. 15-cv-24305, 2017 WL 1251897, at *7 n.9 (S.D. Fla. Apr. 5, 2017).
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   estate does not dispute that the revised procedures were followed here. Accordingly, neither of the

   Department of Justice documents are relevant to Severe’s claim.

          Second, the Court finds that the second and third opinions of Severe’s expert, Mr. Charles

   Drago, are not material. Mr. Drago opined that the City’s custom of failing to train or investigate

   its officers’ use of deadly force extended into 2015. [ECF No. 58-1, 13–15]. To form those

   opinions, Mr. Drago relied solely on the Report and the investigation of Severe’s shooting. [Id.].

   Mr. Drago’s reliance on the Report is misplaced. The Report was over four years old at the time

   of the shooting. He also did not point to any additional post-2011 failures to investigate to bolster

   his opinion that the pattern still existed. See Whitaker, 126 F. Supp. 3d at 1321 (four isolated

   shootings did not establish a custom). And FDLE investigated the shooting, not the City. Without

   more, Mr. Drago’s opinions on this issue are immaterial and cannot be used to defeat summary

   judgment.

          Severe’s estate has provided no evidence to establish the existence of a widespread

   practice—only mere allegations, which the Court need not accept. See Lujan v. Defs. of Wildlife,

   504 U.S. 555, 561 (1992). The Court finds Severe’s estate has failed to establish Section 1983

   liability against the City based on custom or an unofficial policy, and summary judgment must be

   granted to the City as to Count I.

   III.   Count II – Section 1983 Claim Against Officer Torres

          In Count II, Severe’s estate argues that Officer Torres violated Severe’s Fourth

   Amendment right to be stopped or seized without excessive force when Officer Torres shot him

   ten times without justification. Defendants counter that Severe was charging the officers with a

   raised metal rod, and that established Supreme Court precedent protects Officer Torres’s right to

   defend himself with deadly force from a potentially deadly attack.



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          “Qualified immunity shields government officials from liability for civil damages for torts

   committed while performing discretionary duties unless their conduct violates a clearly established

   statutory or constitutional right.” Stephens v. DeGiovanni, 852 F.3d 1298, 1314 (11th Cir. 2017)

   (quoting Hadley v. Gutierrez, 526 F.3d 1324, 1329 (11th Cir. 2008)). “The purpose of this

   immunity is to allow government officials to carry out their discretionary duties without the fear

   of personal liability or harassing litigation, protecting from suit all but the plainly incompetent or

   one who is knowingly violating the federal law.” Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir.

   2002) (internal citations and quotations omitted).

          To establish qualified immunity, an officer must first show that the allegedly

   unconstitutional conduct occurred while he was acting within the scope of his discretionary

   authority. “[T]he burden [then] shifts to the plaintiff to show that qualified immunity is not

   appropriate.” Lee, 284 F.3d at 1194. To meet his burden, a plaintiff must prove that “in the light

   most favorable to [him], . . . the officer’s conduct violated a constitutional right,” and that “the

   right was clearly established” at the time of the violation. Id. (quoting Saucier v. Katz, 533 U.S.

   194, 201 (2001)). “Additionally, the standard for determining if an officer violated clearly

   established law is an objective one and does not include inquiry into the officer’s subjective intent

   or beliefs.” Jackson v. Sauls, 206 F.3d 1156, 1165 (11th Cir. 2000).

          A. Discretionary Duties

          To maintain his immunity, Officer Torres must establish that he was acting within his

   discretionary authority when he stopped Severe. 11 AHE Realty Assoc., LLC v. Miami-Dade Cnty.,



   11
     The Court interprets Severe’s estates’ arguments in the light most favorable to it, as the summary
   judgment standard requires. But the Court notes that Severe’s estate did not specifically identify
   where the discretionary duty started and ended, choosing instead to rehash the factual allegations
   rather than delineating a legal standard to explain them. Its position could be understood as “merely
   equat[ing] the question of whether the defendants acted lawfully with the question of whether they
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   Fla., 320 F. Supp. 3d 1322, 1336 (S.D. Fla. 2018) (noting that entitlement to qualified immunity

   requires that a public official have engaged in a discretionary duty). The term “discretionary

   authority” “include[s] all actions of a governmental official that (1) were undertaken pursuant to

   the performance of his duties, and (2) were within the scope of his authority.” Dunn v. City of

   Boynton Beach, 192 F. Supp. 3d 1310, 1316–17 (S.D. Fla. 2016) (alteration in original) (quoting

   Moore v. Pederson, 806 F.3d 1036, 1042 (11th Cir. 2015) (en banc)). Without question,

   “[i]nvestigating crimes, conducting searches, and making arrests are legitimate job-related

   functions within the discretionary authority of police officers.” Nigro v. Carrasquillo, 152 F. Supp.

   3d 1364, 1368 (S.D. Fla. 2015) (quoting Mears v. McCulley, 881 F. Supp. 2d 1305, 1318–19 (N.D.

   Ala. 2012)) (holding that stop fell within police officer’s discretionary authority because he was

   responding to a report that plaintiff was causing a disturbance), aff’d, 663 F. App’x 894 (11th Cir.

   2016). For an investigatory stop to be proper, and thus within bounds of an officer’s discretionary

   duty, an officer must have “arguable reasonable suspicion to support [the] stop.” Jackson, 206 F.3d

   at 1165–66.

          The Court finds that Officer Torres was acting within his discretionary duties because he

   can “point to specific and articulable facts which, taken together with rational inferences from

   those facts,” would warrant stopping Severe. Terry v. Ohio, 392 U.S. 1, 21–22 (1968) (discussing

   standard for reasonable suspicion). Specifically, Officer Torres stopped Severe in response to

   Sanders’s call alleging a threat from a Black, homeless man carrying a long, metal object and a

   big black bag. Severe matched that description. There were children and numerous other civilians

   in the area. Even though Sanders retracted his complaint, he still asked the officers to ensure that




   acted within the scope of their discretion. The issues are distinct.” Sims v. Metro. Dade Cnty., 972
   F.2d 1230, 1236 (11th Cir. 1992).
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   Severe stayed away from the field where the children were—presumably because Sanders was

   concerned about Severe causing some sort of problem. Therefore, the facts as Officer Torres was

   aware of them as he approached Severe provided him with a reasonable suspicion that Severe had

   committed a crime and could be a threat to the civilians in the vicinity. See Nigro, 152 F. Supp. 3d

   at 1368.

            B. Constitutional Violation – Fourth Amendment

            Having established that Officer Torres was acting within his discretionary authority, the

   burden now shifts to Severe’s estate to show that Officer Torres violated Severe’s Fourth

   Amendment right to be stopped or seized without excessive force. See Carr v. Tatangelo, 338 F.3d

   1259, 1268 (11th Cir. 2003), as amended (Sept. 29, 2003) (noting that seizure using deadly force

   “is . . . subject to the reasonableness requirement of the Fourth Amendment” (citing Tennessee v.

   Garner, 471 U.S. 1, 7 (1985))). “[T]he right to make an arrest or investigatory stop necessarily

   carries with it the right to use some degree of physical coercion or threat thereof to effect it.”

   Graham v. Connor, 490 U.S. 386, 396 (1989). However, “the amount of force used by an officer

   in seizing and arresting a suspect ‘must be reasonably proportionate to the need for that force.’”

   Stephens, 852 F.3d at 1324 (quoting Lee, 284 F.3d at 1198); Jean-Baptiste v. Gutierrez, 627 F.3d

   816, 821 (11th Cir. 2010) (“Although suspects have a right to be free from force that is excessive,

   they are not protected against a use of force that is ‘necessary in the situation at hand.’” (quoting

   Lee, 284 F.3d at 1197)). “The ‘reasonableness’ of a particular use of force must be judged from

   the perspective of a reasonable officer on the scene, rather than with the 20/20 vision of hindsight.”

   Graham, 490 U.S. at 396; Johnson v. Fort Pierce Police Dep’t, 849 F. Supp. 1543, 1551 (S.D. Fla.

   1994).




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          Under this Circuit’s precedent, courts determine whether deadly force is “reasonable” for

   the purposes of the Fourth Amendment by asking whether “[1] the suspect pose[d] an immediate

   threat of serious physical harm to officers or others; [2] the suspect committed a crime involving

   the infliction or threatened infliction of serious harm, such that his being at large represents an

   inherent risk to the general public; and [3] the officers either issued a warning or could not feasibly

   have done so before using deadly force.” Salvato v. Miley, 790 F.3d 1286, 1293 (11th Cir. 2015)

   (quoting Penley v. Eslinger, 605 F.3d 843, 850 (11th Cir. 2010)); Singletary v. Vargas, 804 F.3d

   1174, 1181 (11th Cir. 2015) (“We have held that it is reasonable, and therefore constitutionally

   permissible, for an officer to use deadly force when he has ‘probable cause to believe that his own

   life is in peril.’” (quoting Robinson v. Arrugueta, 415 F.3d 1252, 1256 (11th Cir. 2005))). If the

   officers are justified in using deadly force, they “need not stop shooting until the threat has ended.”

   Plumhoff v. Rickard, 572 U.S. 765, 777 (2014) (noting that if plaintiff had been “clearly

   incapacitated,” the use of continued force would have violated his constitutional rights).

          Viewing the record in the light most favorable to Severe’s estate, the Court finds that three

   genuine issues of material fact exist with respect to whether Severe posed an “immediate threat of

   serious physical harm” to the officers and whether the degree of force was reasonable under the

   circumstances. Even if these facts were not in dispute, the Court finds that Officer Torres’s use of

   force against Severe was clearly excessive.

                  1. Genuine Issues of Material Fact

          The Court begins by examining the three genuine issues of material fact. First, the record

   does not clearly establish how far apart Severe and Officer Torres were when the shooting began.

   E.g., Salvato, 790 F.3d at 1293 (concluding that an officer used excessive force when she shot a

   suspect who had initially resisted, but who was retreating, was unarmed, and was outside of



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   striking distance when he was shot); Mercado v. City of Orlando, 407 F.3d 1152, 1157–58 (11th

   Cir. 2005) (finding that qualified immunity was not appropriate where plaintiff was over six feet

   away and did not pose a clear threat to officers despite holding a knife when he was shot). Each

   witness offered different testimony about the distance between the two men when the shooting

   started, with estimates ranging from two to three feet, ten to twelve feet, and beyond. Testimony

   also indicates that Severe could have been backing up, or otherwise moving away and increasing

   the distance between himself and Officer Torres. Notably, Sanders and others testified that Severe

   was not in a position where he could hurt the officers with the rod. The medical examiner also

   noted that every gunshot wound lacked stipling, residue, imprinting, or any other substance or

   marking that could have originated from the gun. She testified that this indicated that Officer

   Torres shot Severe from a distance of at least two or three feet, but no closer.

          Second, the record does not clearly establish what Severe was doing in the moments before

   Officer Torres began to shoot—in particular, whether he was rushing the officers or trying to turn

   away from the officers and what he was doing with the rod. Compare Salvato, 790 F.3d at 1293

   (finding that excessive force was unjustified where plaintiff was retreating, unarmed, and outside

   of striking distance) with Santana v. Miami-Dade Cnty., 688 F. App’x 763, 771–72 (11th Cir.

   2017) (finding that qualified immunity was appropriate where undisputed testimony said decedent

   was armed with a gun, was in a defensive position, ignored commands to drop the gun, attempted

   to escape, and was pointing the gun in the direction of the officers). See also Perez v. Suszczynski,

   809 F.3d 1213, 1220 (11th Cir. 2016) (“[T]he mere presence of a . . . weapon is not enough to

   warrant the exercise of deadly force and shield an officer from suit. Where the weapon was, what

   type of weapon it was, and what was happening with the weapon are all inquiries crucial to the

   reasonableness determination.”). The independent witness testimony suggests two plausible but



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   contradictory scenarios: either Severe was charging the officers with the rod raised like a baseball

   bat, or he was turning away from the officers with the rod raised to some degree, but not overhead.

   The autopsy report and medical examiner’s testimony do not reconcile the contradictions. They

   document three bullets that penetrated Severe’s back, which suggest that at some point he was

   turned away from the officers, and the one bullet that penetrated his buttock at an upward angle,

   which suggests that he could have been shot while on the ground. But her testimony and other

   gunshot evidence also indicate that Severe was shot six times through his left side. When Severe

   turned and where he was when the shots began are not clear from these facts. And the medical

   examiner cannot provide an account of how the scene unfolded based on her examination of

   Severe’s body.

           Third, there is conflicting witness testimony about whether Officer Torres continued to

   use force after Severe was incapacitated. Plumhoff, 572 U.S. at 777 (“This would be a different

   case if petitioners had initiated a second round of shots after an initial round had clearly

   incapacitated [the decedent] and had ended any threat of continued flight, or if [the decedent] had

   clearly given himself up.”). Severe could have become incapacitated at two different moments: (1)

   when he was shot in his left arm, which held the rod, and (2) when he fell to the ground. The

   medical examiner testified that Severe was shot three times in the left arm and, although the record

   is unclear about the order in which the shots were fired, a reasonable conclusion can be drawn that

   that any one of these shots would have caused him to drop the rod, which may have initially posed

   a threat to the officers. Also, Officer Torres testified that he stopped shooting after Severe hit the

   ground and posed no threat. But Rich testified that Officer Torres continued shooting after Severe

   hit the ground, and Dennis testified that Severe’s body kept “jumping” off the ground as bullets

   struck him. The autopsy results also support a finding that Torres continued shooting after Severe



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   had fallen to the ground: the bullet that entered Severe’s right buttock did so at an upward facing

   angle, suggesting that Officer Torres shot him from a higher angle.

                  2. Clearly Excessive Use of Deadly Force

          Even assuming Officer Torres’s initial decision to use force was reasonable, the Court finds

   that his ten shots to Severe was clearly excessive as compared to the threat Severe posed. A use of

   force is clearly excessive when an officer uses a measure of force that exceeds the danger he is in.

   See Oliver v. Fiorino, 586 F.3d 898, 907 (11th Cir. 2009) (“[T]hough the initial use of force (a

   single Taser shock) may have been justified, the repeated tasering of Oliver into and beyond his

   complete physical capitulation was grossly disproportionate to any threat posed and unreasonable

   under the circumstances.”). See also Stephens, 852 F.3d at 1324 (“[T]he amount of force used by

   an officer in seizing and arresting a suspect must be reasonably proportionate to the need for that

   force.” (quoting Lee, 284 F.3d at 1198) (internal quotations omitted)).

          Independent witnesses described Severe as frail, old, and not agile. Those witnesses stated

   that Severe turned from the officers as Officer Torres began shooting. Witnesses testimony that

   Officer Torres shot Severe several times even after he fell to the ground is buttressed by the

   medical examiner’s findings that Severe had entry wounds to his back and buttock. Notably,

   Officer Torres has not presented the Court with a reasonably detailed explanation for his need to

   repeatedly shoot Severe as he stood before the officers and as he laid on the ground. 12 So, under




   12
     Defendants cite Shaw v. City of Selma in support of their argument that Officer Torres’s use of
   force was appropriate. 884 F.3d 1093 (11th Cir. 2018). There, the Eleventh Circuit found that the
   use of one shot was appropriate where the decedent carried a hatchet, was within a few feet of the
   officer (and edging closer still), and was enticing the officer to shoot him—including by directly
   saying, “[s]hoot it!” Id. at 1097, 1099. The facts presented here could not be more different—
   including, most notably, as to the type of weapon at issue (a hatchet versus a rod) and the amount
   of force used (one shot versus ten). See also Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2019) (use
   of lethal force appropriate where it was used to incapacitate, not kill, suspect who wielded knife,
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   these circumstances, the Court finds that the deadly force used by Officer Torres was clearly

   excessive and disproportionate to any threat posed by Severe.

          C. Clearly Established Law

          Having determined that Officer Torres violated Severe’s constitutional right to be stopped

   and/or seized free of excessive force, the Court must now ascertain whether that right was clearly

   established at the time of the incident such that Officer Torres is not entitled to qualified immunity.

          “The relevant, dispositive inquiry in determining whether a right is clearly established is

   whether it would be clear to a reasonable officer that his conduct was unlawful in the situation he

   confronted.” Saucier, 533 U.S. at 202, receded from by Pearson v. Callahan, 555 U.S. 223, 236

   (2009) (affirming Saucier’s two-step sequence for resolving qualified immunity claims but

   allowing courts to “exercise their sound discretion in deciding which of the two prongs should be

   addressed first in light of circumstances in the particular case at hand”). The Eleventh Circuit

   employs two methods to determine if a right is clearly established. Stephens, 852 F.3d at 1315.

   Under the first method, the Court looks at “the relevant case law at the time of the violation; the

   right is clearly established if a concrete factual context exists so as to make it obvious to a

   reasonable government actor that his actions violate federal law.” Id. (quoting Fils v. City of

   Aventura, 647 F.3d 1272, 1291 (11th Cir. 2011)). Under the second method, the Court looks “not

   at case law, but at the officer’s conduct, and inquires whether that conduct ‘lies so obviously at the

   very core of what the Fourth Amendment prohibits that the unlawfulness of the conduct was

   readily apparent to the officer, notwithstanding the lack of fact-specific case law.’” Id. (quoting

   Fils, 647 F.3d at 1291) (emphasis in original). Actions that fall under this second method—deemed




   stood within a few feet of a bystander, had refused commands to drop the knife, and had been
   reported to be behaving erratically and “hacking” at a tree with the knife).
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   obvious-clarity cases—are the exception to the rule that a controlling and similar case must

   establish a constitutional violation. Id.

                    1. Relevant Case Law

           In 2015, the Eleventh Circuit’s precedent was clearly established that the use of excessive

   force—and particularly the use of excessive deadly force—while investigating a suspect, making

   a stop, or making an arrest violated the Fourth Amendment. As discussed supra, force is considered

   excessive when officers use an amount that is not proportional to its need. E.g., Oliver, 586 F.3d

   at 907–08. See also Shaw v. City of Selma, 884 F.3d 1093, 1099 (11th Cir. 2018). By the same

   token, police officers may not continue to use force on an incapacitated individual. E.g., Rubio v.

   Lopez, 445 F. App’x 170, 174 (11th Cir. 2011) (noting that “it is clear that an officer cannot use

   gratuitous force against an incapacitated arrestee”); Oliver, 586 F.3d at 908 (holding that repeated

   tases after decedent was incapacitated was clearly excessive); Hadley, 526 F.3d at 1330 (holding

   that physical force against subdued suspect was excessive despite suspect’s paranoid demeanor

   and drug use). See also Garner, 471 U.S. at 11 (noting that deadly force is not justified “[w]here

   the suspect poses no immediate threat to the officer and no threat to others”).

           In Oliver v. Fiorino, the decedent was repeatedly shocked by the police officer’s taser,

   ultimately causing his death. 586 F.3d at 905. The Eleventh Circuit held this was clearly excessive

   because, although some erratic behavior may have justified an initial tasing to ensure compliance,

   it was not clear that the decedent posed a threat warranting repeated uses of the taser. Id. at 907.

   See also Morton v. Kirkwood, 707 F.3d 1276, 1284–85 (citing Riley v. City of Montgomery, 104

   F.3d 1247, 1251 (11th Cir. 1997) (holding that the use of repeated shots against a decedent sitting

   in a car was clearly excessive where plaintiff’s version of events was not “inherently incredible”).

   And in Gilmere v. City of Atlanta, the Eleventh Circuit found that a shot to the stomach during a



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   “scuffle” was excessive, despite the decedent’s earlier threat to a bystander with a firearm, attempt

   to flee, and prior blows exchanged with the police. 13 774 F.2d 1495, 1497 (11th Cir. 1985). The

   Court pointed out that controlling precedent disavowed deadly force where it was uncalled for in

   the situation—in Gilmere, characterized by the decedent’s retreat from the officers and

   intoxication. Id. See also McKinney v. DeKalb Cnty., 997 F.2d 1440, 1443 (11th Cir. 1993)

   (finding that use of five shots was not reasonable on suicidal boy, who held butcher knife and stick,

   then threw the stick at officers and began to stand up while still holding the knife, all while in close

   range of officers).

           Based on these precedents, no objectively reasonable officer in Officer Torres’s position

   could have thought that shooting Severe ten times was a constitutionally permissible use of force

   here. To begin, witness testimony asserts that Severe was not able to hit the officers from the

   distance where he stood; nor was he in a physical condition to harm them. Severe’s estate also

   disputes that Severe was charging the officers or waving the rod overhead. It contends that Severe

   was moving away when the first shots were fired, a scene with which the medical examiner’s

   report and testimony and the testimony of other witnesses may “reasonably be harmonized.”

   Morton, 707 F.3d at 1284. Namely, the eyewitness testimony asserts that Officer Torres may have

   continued to fire on Severe after Severe’s arm had been struck and after Severe attempted to retreat

   and he fell to the ground. The medical examiner’s report—detailing three shots to Severe’s arm,

   which could have made him drop the rod, and four bullet wounds to his back, one of which entered

   his buttock at an upward angle—corroborates the eyewitness testimony. If true, Severe posed no




   13
     The Court notes that the test used to determine whether force was excessive in Gilmere was
   abrogated by the Supreme Court in Graham v. Connor. 490 U.S. at 393–94. Nevertheless, the
   Court follows the Eleventh Circuit’s repeated precedents relying on Gilmere’s fact pattern and
   conclusion. E.g., Salvato, 790 F.3d at 1294 (citing Gilmere’s reasoning with approval).
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   threat after either of those moments. But as this Circuit’s precedents dictate, any further use of

   force after Severe was incapacitated was gratuitous. Accordingly, viewing the facts in the light

   most favorable to Severe, Officer Torres’s repeated use of deadly force was not objectively

   reasonable and clearly exceeded the danger Severe posed with his rod under Eleventh Circuit

   precedent.

                    2. Obvious Clarity Cases

           The Court also finds that this action falls within the realm of the obvious-clarity cases. “In

   an obvious-clarity case, where the officer’s conduct is plainly objectively unreasonable, a court

   does not need prior case law to determine the force used by the officer was excessive and unlawful,

   because it was disproportionate.” Stephens, 852 F.3d at 1318. Rather, “the salient question . . . is

   whether the state of the law . . . gave [the officers] fair warning that their alleged treatment of [the

   plaintiff] was unconstitutional.” Vinyard v. Wilson, 311 F.3d 1340, 1350 (11th Cir. 2002) (citing

   Hope v. Pelzer, 536 U.S. 730, 741 (2002) (emphasis added)). See also Oliver, 586 F.3d at 906–07

   (finding qualified immunity inappropriate because the use of repeated taser shocks was so

   disproportionate to decedent’s struggle that it fit the mold of other obvious-clarity cases).

           Considering the evidence in the light most favorable to Severe’s estate, the Court finds that

   Office Torres’s use of deadly force against Severe was “so far beyond the hazy border between

   excessive and acceptable force [that every objectively reasonable officer] had to know he was

   violating the Constitution even without caselaw on point.” Vinyard, 311 F.3d at 1355 (citing

   Priester v. City of Riviera Beach, 208 F.3d 919, 926 (11th Cir. 2000)). For the reasons detailed

   above, the Court finds that no objectively reasonable officer could have thought that repeated use

   of deadly force against Severe was appropriate based on the totality of the circumstances. And

   further, continuing to use deadly force after Severe was incapacitated was gratuitous and grossly



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   outweighed the measure of danger Severe posed to the officers. Indeed, Officer Torres’s use of

   force far exceeds other uses of excessive force found impermissible. See supra at pp. 22–24. See

   also Stephens, 852 F.3d at 1325–26 (collecting cases). As such, Officer Torres’s use of force is

   plainly encompassed by the obvious-clarity precedents.

          Because the law as established in June 2015 gave Officer Torres “fair warning that [his]

   alleged treatment of [Severe] was unconstitutional,” qualified immunity does not protect his

   actions. Stephens, 852 F.3d at 1316–18. The Court therefore denies summary judgment on Count

   II and finds that Officer Torres is not entitled to qualified immunity.

   IV.    Florida Wrongful Death Claim

          Severe’s estate also brings claims against Officer Torres and the City under Florida’s

   Wrongful Death Act, Fla. Stat. §§ 768.16–768.28. Defendants argue that these claims are barred

   because there is no cause of action for the negligent use of force under Florida law. Severe’s estate

   conceded at argument that there is no claim for negligent use of force, but argued that the claims

   could still proceed under negligence because a reasonable officer would not have shot Severe under

   the same circumstances.

          The Court agrees that there is no claim for negligent use of force under Florida law.

   Fontanez v. Lamberti, No. 10-cv-61428, 2011 WL 4499016, at *13 (S.D. Fla. Sept. 27, 2011). In

   the Complaint, Severe’s estate alleges that “police officers have a common-law duty to exercise

   reasonable care in carrying out their law-enforcement responsibilities” which was breached when

   Officer Torres shot Severe, and that no reasonable officer would have found force or deadly force

   necessary in that situation. 14 [ECF No. 1 ¶¶ 69, 70, 71, 80, 81, 82]. Severe’s estate therefore does



   14
     Although claims for negligent decision-making or negligent use of a firearm can arise under
   Florida law, Severe’s estate does not allege those in the Complaint. Lewis v. City of St. Petersburg,
   260 F.3d 1260, 1263–64 (11th Cir. 2001). Thus, the Court cannot consider such claims.
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   not distinguish his claims from ones for negligent use of force. Thus, Counts III and IV must be

   dismissed with prejudice. 15

                                            CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED that

          (1) Defendants’ Motion for Summary Judgment [ECF No. 56] is GRANTED IN PART

              AND DENIED AND PART.

          (2) The remaining parties shall appear before the Court for a status conference on July 17,

              2019.

          (3) Defendants’ Motion in Limine to Exclude Testimony of Mr. Charles Drago [ECF No.

              58] is GRANTED IN PART AND DENIED IN PART. The Motion is GRANTED

              as to Mr. Drago’s opinion regarding the City’s failure to supervise and train its officers

              in the use of deadly force (listed in his expert report as opinions 2 and 3). It is DENIED

              as to all other opinions.

          DONE AND ORDERED in Chambers at Miami, Florida, this 25th day of June, 2019.



                                                         ________________________________
                                                         DARRIN P. GAYLES
                                                         UNITED STATES DISTRICT JUDGE




   15
     Because Severe’s estate’s state law claims are dismissed with prejudice, the Court need not
   consider the Stand Your Ground defense, Fla. Stat. § 776.012, asserted by Officer Torres.
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